                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Western Division

Dontae Johnson
                                    Plaintiff,
v.                                                      Case No.: 3:21−cv−50388
                                                        Honorable Iain D. Johnston
Village of Lyndon, Illinois
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 14, 2021:


       MINUTE entry before the Honorable Iain D. Johnston: The motion to voluntarily
dismiss [3] is granted. Case dismissed without prejudice. Civil case terminated. (yxp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
